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Standardized Forms 
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  Illinois Pattern Jury Instructions-Civil - 700.12VA - approved September 14, 2012 
  Illinois Pattern Jury Instructions-Criminal - 11.49, 11.49A, 11.49B, 15.00   - approved May 2, 2014
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Chief Justice Rita B. Garman  
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Court Forms
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           Petit Juror Handbook
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           Consumers' Guide to Legal Help (American Bar Association site) 
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 The Third Branch - A Chronicle of the Illinois Supreme Court
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